               Case 1:09-cv-01805-JFM Document 1 Filed 07/10/09 Page 1 of 3

                                                                                    FILED
                                                .                           U.S •.DISTHICT COURT
                           IN THE UNITED STATES DISTRICT dOijRlCl OF f1l\HYLAND
                              FOR THE DISTRICT OF MARYLAND
                                                                          IZnaqJUl fO PI2:SS'
                                                            *                 CLERK'S Or:FrCE
FRANK J. FEDERICO, II, ESQ., et. al.
                                                                                 Ai 8ALTWlORE
                                                            *
                   Plaintiffs,                                            BY---          __ DEF'Unr
v.                                                          *
EV AN M. GOLDMAN, ESQ., et. al.                             *                 JFM'9CVIB-D5
                   Defendants                               *
                                                            *
*         *        *           *         *          *   *       *     *      *       *       *      *     *
                                              NOTICE OF REMOVAL

          Pursuant to 28 U.S.C.          SS   1331, 1441, and 1446, American Express Bank, FSB, Evan

M. Goldman, and Goldman & Goldman, P.A., (collectively                     the "Defendants"),    hereby

remove the above captioned civil action from the Circuit Court of Maryland for Baltimore

County, to the United States District Court for the District of Maryland. The removal of this

civil case is proper because:

          1.       All defendants consent to remove this action currently before the Circuit Court

of Maryland for Baltimore County titled "Frank J Federico, IL Esq. and Frank J Federico,

II, P.A_ v. Evan M Goldman, Esq. and Goldman & Goldman, P.A. and American Express

Bank, FSB" known as Case No.: 03-C-09-006831 aT (the "State Court Action").

          2.       Defendants remove this case on the basis of the Fair Debt Collection Practices

Act, Title 15 U.S.C.       S       1692 (the "FDCPA"), as the Plaintiffs complaint claims relief based

on alleged abusive practices in violation of federal law.




105946/
               Case 1:09-cv-01805-JFM Document 1 Filed 07/10/09 Page 2 of 3


          3.     Attached hereto and incorporated herein as Exhibit A are true and correct copies of

all process, pleadings, and orders served upon Defendants in the State Court A~tion. No further

proceedings have taken place in the State Court Action.

          4.        A copy of this Notice of Removal is being served upon Plaintiffs and filed

concurrently with the Clerk of the Circuit Court of Maryland for Baltimore County.

          WHEREFORE, Defendants hereby remove to this Court the State Court Action.




July 10, 2009



                                                       @2]}Z4=--
                                                       Evan M. Goldman, Esquire
                                                       Federal Bar Number: 27311
                                                       Goldman & Goldman, P. A.
                                                       36 South Charles Street, Suite 2401
                                                       Baltimore, Maryland 21201
                                                       emg@goldmangoldman.com
                                                       (410) 547-1400 phone
                                                       (410) 547-8818 fax

                                                       Attorneys for Defendants
                                                       American Express Bank, FSB,
                                                       EvanA1. Goldman, and
                                                       Goldman & Goldman, P.A.




105946/                                            2
             Case 1:09-cv-01805-JFM Document 1 Filed 07/10/09 Page 3 of 3




                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 10th day of July 2009, a copy of the foregoing Notice

of Removal was mailed first class, postage prepaid, to:

Frank 1. Federico, II, Esquire
6800 York Road, Suite 2
Baltimore, Maryland 21212

Frank J. Federico, II, P.A.
6800 York Road, Suite 2
Baltimore, Maryland 21212


                                                     Evan M. Goldman




105946/                                         3
